
		
				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. KRIGEL2023 OK 2Case Number: SCBD-7393Decided: 01/17/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2023 OK 2, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBICATION. 

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STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
JEFFREY PRICE KRIGEL, Respondent.



ORDER OF EMERGENCY INTERIM SUSPENSION



¶1 On December 21, 2022, Complainant, the Oklahoma Bar Association (OBA), filed a verified complaint against Respondent Jeffrey Price Krigel pursuant to Rule 6 of the Rules Governing Disciplinary Proceedings (RGDP) 5 O.S.2011, ch. 1, app. 1-A. With the concurrence of the Professional Responsibility Commission, the OBA requests an emergency interim suspension of Respondent from the practice of law pursuant to Rule 6.2A of the RGDP.

¶2 In support, the OBA reports that it has received sufficient evidence demonstrating Respondent has committed conduct in violation of Rules 3.1, 3.2, 3.3, 3.4, 3.5, 4.1, 4.4, 8.2, and 8.4 the Oklahoma Rules of Professional Conduct, and Rule 1.3 of the Rules Governing Disciplinary Proceedings, and that the conduct poses an immediate threat of substantial and irreparable public harm.

¶3 The Complainant alleges it has conducted an extensive review of Respondent's court filings, pleadings, and statements made in open Court. These include matters wherein the Respondent is representing himself and wherein he is acting as at attorney for third parties.

¶4 Complainant submits Respondent continues to assert reckless, malicious, and dishonest statements in pleadings and in open court with the sole intention to intimidate and harass his alleged rape vicitm, the criminal case witnesses, law enforcement agents, prosecutors, and judges.

¶5 Complainant submits that despite being warned by various Courts to temper his behavior, Respondent's false and incendiary attacks on the legal system and judiciary are amplifying. Furthermore, his abuse of the legal process and relentless attempts to intimidate witnesses is impugning public confidence in the judiciary and the courts.

¶6 The Court ordered Respondent to show cause, no later than January 12, 2023, why an emergency interim suspension should not be entered. The Court sent a file-stamped copy of the order and verified complaint to Respondent's official roster address as well as the additional record address. Respondent filed an objection on January 12, 2023, wherein Respondent denies all of the allegations alleged. Respondent argues, among other things, that this Court lacks jurisdiction, the OBA has engaged in equal protection violations, the OBA has violated substantive due process, and that the OBA cannot support the allegations against him.

¶7 Upon consideration of the verified complaint and application for emergency interim suspension, the Court finds that Respondent has committed conduct in violation of the Oklahoma Rules of Professional Conduct that poses an immediate threat of substantial and irreparable public harm.

¶8 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Respondent, Jeffrey Price Krigel, is immediately suspended from the practice of law, pursuant to Rule 6.2A of the RGDP.

¶9 FURTHERMORE, Respondent is ordered to give written notices by certified mail, within twenty (20) days from the date of this Order, to all of his clients having legal business pending of his inability to represent them and the necessity for promptly retaining new counsel. If Respondent is a member of, or associated with, a law firm or professional corporation, such notice shall be given to all clients of the firm or professional corporation, which have legal business then pending with respect to which Respondent has substantial responsibility. Respondent shall file a formal withdrawal as counsel in all cases pending in any tribunal. Respondent must file, within twenty (20) days from the date of this Order, an affidavit with the Commission and the Clerk of the Supreme Court stating that he has complied with this Order, together with a list of the clients so notified and a list of all other State and Federal courts and administrative agencies before which Respondent is admitted to practice. Proof of substantial compliance by Respondent with this Order shall be a condition precedent to any petition for reinstatement.

¶10 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE on January 17, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.






